               Case 2:22-cr-00105-Z-BR Document 45 Filed 06/06/23                                                            Page 1 of 1 PageID 110
✎AO 187 (Rev. 7/87) Exhibit and Witness List


                                                 UNITED STATES DISTRICT COURT
                             NORTHERN                                                 DISTRICT OF                                         TEXAS



                                      USA
                                                                                                                 EXHIBIT AND WITNESS LIST
                                        V.
                       TIMETHY MARRUGO                                                                                 Case Number: 2:22-CR-105-Z-BR-(1)

PRESIDING JUDGE                                                    PLAINTIFF’S ATTORNEY                                      DEFENDANT’S ATTORNEY
 Kacsmaryk                                                          AnnaMarie Bell                                            Michael King
TRIAL DATE (S)                                                     COURT REPORTER                                            COURTROOM DEPUTY
 06/06/2023                                                         M. Daniel                                                 V.Shrewsbury
 PLF.      DEF.         DATE
                                       MARKED ADMITTED                                                   DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.       NO.        OFFERED

                       6/6/2023             X            X          Exhibit A - Sealed Document




* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

                                                                                                                                     Page 1 of    1   Pages


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